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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

                                          *
XIU DONG WU,
                                          *
       Petitioner,
                                          *             Civil Action No. RDB-21-0732
       v.
                                          *
MERRICK GARLAND, et al. ,
LLC, et al. ,                             *

                                          *
       Respondents.
                                    *
*      *       *      *     *   *   *  *    *  *                      *      *      *
                              MEMORANDUM ORDER

       On March 23, 2021, pro se Petitioner Xiu Dong Wu (“Petitioner” or “Wu”) filed this

action against Respondents Merrick Garland, United States Attorney General, and Alejandro

Mayorkas, Secretary of Homeland Security (collectively, “Respondents”), seeking an order for

Respondents to adjudicate Wu’s I-485 Application to Register Permanent Residence or Adjust

Status, which Wu filed on September 27, 2019. (ECF No. 1; ECF No. 1-2 *SEALED*.)

Presently pending is Respondents’ Motion to Dismiss Wu’s Petition as moot. (ECF No. 4.)

On May 11, 2021, this Court mailed Petitioner a Rule 12/56 Notice, directing Wu to respond

to Respondents’ Motion within 28 days. (ECF No. 5.) Wu has not filed any response.

       On May 5, 2021, Wu’s I-485 Application was approved and an I-797 Notice of Action

was sent to Wu and to Wu’s immigration attorney. (ECF No. 4-2.) As a result, Wu’s petition

for Respondents to adjudicate the I-485 Application is now moot. Accordingly, it is this 8th

day of June, 2021, HEREBY ORDERED that:

       1. Respondents Motion to Dismiss the Petition (ECF No. 4) is GRANTED;
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2. This case is DISMISSED WITH PREJUDICE; and

3. The Clerk of Court is directed to CLOSE this case.


                                                ________/s/______________
                                                Richard D. Bennett
                                                United States District Judge




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